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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTRlCT OF NEW YORK

 

coLLiN TRELLY,
Plaintiff,
V.
couNTY oF MoNRoE; the sHERiFF of the NoTlcE oF REMovAL
couNTY oF MoNFioE; and MoNRoE couNTY
DEPuTY sHERiFF GElGER, ease NO_
Defendants.

 

 

PLEASE TAKE NOT|CE that defendants County of Monroe, the Sheriff of
the County of Monroe and Monroe County Deputy Geiger hereby remove this civil
action to the United States District Court for the Western District of New York

pursuant to 28 U.S.C. §1441 and §1446.

Grounds for Remova|

1. On Decem_ber 19, 2012, this civil action was commenced against the
defendants by filing the Summons and Comp|aint in the Supreme Court of the State of
NeW York for the County of Monroe, index No. 12-3760.

2. On Apri| 18, 2011 the Summons and Comp|aint in this civil action Were
served upon Defendants County of Monroe sheriff of the County of Monroe. Upon
information and belief, Deputy Geiger has not been served.

3. The defendants’ time to respond to the plaintiff’s Comp|aint has not yet

expired.

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4. The defendants’ Answer has not been filed in New York State Supreme
Court.
l 5. No further proceedings have occurred in this action.
6. The above-entitled action is one of which this Court has original

jurisdiction, pursuant to 28 U.S.C. §1331, as the fifth cause of action [‘|]1] 25-31] of the
Comp|aint are predicated upon 42 U.S.C. §1983.
8. The above-entitled action is one that may be removed to this Court by

the defendants pursuant to the provisions of 28 U.S.C. §1441.
Fi|ing and Service of the Notice of Removal

9. The defendants are filing this Notice of Remova| within 30 days after
their receipt of the Summons and Comp|aint, as required by 28 U.S.C. §1446(b).

10. Notice of the filing of this Notice of Fiemova| will be served upon the
plaintiff as required by 28 U.S.C. §144_6(d).

11. A true copy of this Notice of Remova| wi|| be filed with the C|erk of the
Supreme of the State of New York for the County of |\/|onroe as required by 28 U.S.C.

§1446(d).
Copies of A|l Process, Pleadings and Orders Served Upon the Defendants

12. Copies of the Summons and Comp|aint, which are the only process,

pleadings or orders served upon the defendants, are attached.

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MER|DETH H. SM|TH, MONROE COUNTY ATTORNEY
Attorney for defendants County of Monroe; the Monroe County
Sheri]jv and Depu Geiger

 

Michele R ance Crain, Esq. of Counsel
Senior Deputy County Attorney

307 County Office Bui|ding

39 West l\/|ain Street, Flochester, New York 14614
Te|ephone: 585.753.1407

E-l\/|ai|: mcrain@monroecounty.gov

Dated: l\/|ay 14, 2013

To:

MONROE COUNTY CLERK

Clerk of the Snpreme Court of the State ofNew York, Monroe County
101 County Office Bui|ding

39 West |\/|ain Street

Rochester, New York 14614

TED A. BARACO,' ESQ.
Attorney for Plaintijj”

19 West l\/|ain Street, Suite 721
Rochester, New York 14614
Te|ephone: 585.546.5980

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Local Rule 81
Local Rules of Civil Procedure of the Western District of New York

index of Documents Fiied in the New York State Court Action

 

A Summons December 19, 2012

 

B Comp|aint December 19, 2012

 

C _ Answer i\/|ay 8, 2013

 

 

 

 

 

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Exhibit A

Exhibit A Exhibit A Exhibit A

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suPREME couRr . co NTv oi= MoNRoE _ _ . ,
-- - ' _ 4 Piaintiff desi nates

COLL|N TRELLY, Monroe County as` _ e
, The basis of venue is: _ _
Defendant’s Piaice of Business

Piaintiff, b
, . ~ SUMMONS
' -vs-
COUNTY QF MONROE,
THE S_HER|FF of the COUNTY OF MONROE, and
MONROE COUNTY DEPUTY SHER|FF, » _
GE|GER _ ' Piaintiff resides at
- Macedon

b Wayne County, NY
Defendants - 04`?8~131>01:33 RCVD

 

To the above named Defendants: ~ _ . _ .. _ _ _
YOU~ ARE,HEREBY'SUM.MC_NED t_o answer the complaint in this action and to

serve a copy of o_ur answer, or, if the co_r_r_i _ iaint is not served with this summons, to

serve a no ice o appearance on the P_iain,_iff's. attorney within 20 days after service of

this summons, exc usiv_e o_f the day'of service (or within 30 da s after the service is

complete if.this summons is _not personally delivered to you wi_ hin the Sta_te of New
York)r' and in cas_e of your failure to appear judgement may be taken against you by
default for the relief demanded in the complaint . - _

Dated: December1_9, 2012 _, /

TED A. BARRA_CQ ESQ.

Attorney for; P|aintiff

Office and P_ost Office Ac_!dress:
19 West Main Street, Suite 721
Roch_este_r, New _Yo__rk 14614
Tei: (585) 5_46-5980 ' .

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Exhibit B

Exhibit B Exhibit B Exhibit B

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STATE OF NEW YORK
SUPREME COURT COUNTY OF MONROE

 

CoLLm `TRELLY, _
Piain¢irr, . Index No. /.,Z // 3 7 s 0
-vs- , coMPLAiNT
coriNTY oF MoNRoE, THE sHERIFF or the
coUNTY oF MoNRoE, and MoNRoE co_UNTY
DEPUTY sHERIFF GEIGER,

Defendants.

 

. Plaintiff, by Ted A. Barraco, Esq, his attorney, as and for his Complaint against the
Defendants, states and alleges as follows: d l
l. That at all times herein referred to, Plaintiff was a resident of the County of Wayne
and Stateof New York. _
2'. Tha_t at all times herein referred to, Defendant Monroe County is a duly formed and

existing County of the State of New York.

3. That the Defendant, The Sheriff of Monroe County, is an independent law § §
:‘5' `~`3
enforcement office within the County of Monroe duly formed and existing under the IM's @he
m €""">
State of New York. § § t

4.. That, upon information and belief, the Defendant, Monroe County Deputhhe§’f 5313
Geiger, is and was an employee of the Sheriff of Monroe County and/or the Counq.f Monroe,
and is a resident of Monroe County

5 . That Plaintiff duly filed and served a Notice of Claiin upon said Defendants on the
2"" day.of December, 2011 as required by §SO-e of the Generai Municipal Law.

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AS AND FO_R A FI.RST CAUSE OF ACTION
PLAiNTiFF ALLEGES As FoLLows; .

6. ~ That Plaintiff restates and re-alleges all of the allegations contained in paragraphs
numbered 1 through 5 above as though each were set forth herein at length.

7 . That on or about the 20‘h day of September, 2011, in the County of Monroe,
Defendant Deputy Gieger intentionally placed the Plaintiff in imminent fear of harmful and
offensive contact

_ 8. That at said time and place, the Plaintiff was an inmate at the Monroe County Jail and

Defendant, Deputy Geiger was employed as a guard at the Monroe County Jail.

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E:.
:z:
9 That at said time and place, Defendant Geiger, through verbal threats and §§:us
the physical action of approaching the Plaintiff, placed the Plaintiff m fear of immine@

forceful, harmful contact without Plaintist consent § v

88 §1~ bid 61 3

10. That the said assault of the Plaintiff by Defendant Geiger caused Plaintiff §§ar,l
humiliation and extreme emotional distress. z
AS AND FOR A SECOND CAUSE OF ACTION
THE.PLAINTIFF ALLEGES AS FOLLOWS:
11. That the Plaintiff re-states and re_-alleges all of the allegations contained in
paragraphs 1 through 10 herein above as though each were set forth herein at length.
12. That on or about September 20, 2011 in the County of Monroe and State of new
York the Defendant Geiger did intentionally and wrongfully make harmful and offensive contact
With the Plaintiff without the Plaintiff’s consent

13. That on or about September 201 2011, the Defendant Geiger intentionally and

wrongfully held Claimant down on his bed; placed his hand around Plaintiff s neck choking the

_2-

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Plaintiff and cutting off his air supply all without the Plaintist consent

14. b That Defendant thereby caused the Plaintiff pain, fear and emotional distress.

15. That said battery of the Plaintiff by Defendant Geiger resulted in harmful and
offensive contact to the Plaintiff and caused the Plaintiff to suffer pain, fear and emotional
distress. _

As AND FoR A Tmm) cAusE oF ACTIoN
THE PLA]NTIFF ALLEGES AS FOLLOWS:

l6. That the Plaintiff re-states and re-alleges all of the allegations contained in
paragraphs l through 15 herein above as though each were set forth herein at length.

17 That on or about September 20, 2011, Defendant Geiger intentionally engaged in
extreme and outrageous conduct with the intent to cause, or with disregard for a substantial
probability of, extreme and severe emotional distress on the part of the Plaintiff.

18._ That the extreme and outrageous conduct is as outlined hereinabove

19. That said outrageous conduct toward the Plaintiff by Defendant Geiger caused the
Plaintiff to suffer pain, fear, -intimidation, humiliation and severe and extreme emotional
distress.

AS AND FOR A FOURTH CAUSE OF ACTION
PLAlNTIFF ALLEGES AS'FOLLOWS:
` 20, That Plaintiff restates and re-alleges all of the allegations contained in paragraphs 1
through 19 above as though each were set forth herein at length v

21§ That Defendants The County of Monroe and` the Sheriff of the County of Monroe,
jointly and severally, failed to exercise due care in the hiring, supervision and training of their
respective personnel, including Deputy Sheriff Geiger.

22. That Defendants, The County of Monroe and the Sheriff of the County of Monroe

-3.

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were negligent in failing to properly train and supervise Defendant, Deputy Sheriff Geiger in the
performance of his duties with regard to standards and requirements for the treatment of inmates
v at the Monroe County Jail.

23. That Defendants, County of Monroe and the Sheriff of Monroe County, through its

other agents, servants, employees and officers negligently permitted Defendant 'Gei_ger to use ‘

unlawful physical force and improper threats and verbal abuse against the Plaintiff as another
Deputy merely stood by.

24. That solely as a result of the negligence of the Defendants as set forth herein the
Plaintiff has been damaged as is more fully set forth above.

l AS AND FOR A FIFTH CAUSE OF ACTION
PLAll‘ITIFF ALLEGES AS FOLLOWS:

25. That Plaintiff restates and re-alleg_es all of the allegations contained in pa§agrghs l

‘ ‘l

ncaa
3301

through 24 above as though each were set forth herein at length.
ca
26. That at all times herein referred to Defendant, Deputy Sheriff Geiger w§ ac§g
under the color of state law and in the course of his employment for Defendants Coun §ty§`

CD my
Monroe and the Sheriff of the County of Monroe. §§ §§

27. That Defendant Deputy Geiger while acting under the color of state lav?}c as is set
forth above, deprived the Plaintiff of rights and privileges guaranteed to him under the
constitution and laws of the United States of America, in that said Defendants deprived the _
Plaintiff of his right to be free from cruel and unusual punishment all of which are guaranteed to
him under the eighth and fourteenth amendments to the United States Constitution and Title 42
U. S. Code §§1983 et. seq. l

28. That Defendants, County of Monroe and The Sheriff of the County of Monroe,

' through its agents, servants, employees and officers, as a matter of official policy through its

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actions and inactions deliberately and/or recklessly authorized and permitted Defendant Deputy
Sheriff Geiger, to disregard and violate the Plaintiff’s said rights and privileges and further
- permitted him to do so out of personal animosity through malice against the'~Plaintiff all of
which was under the color of state law and in violation of Plaintiff’s rights, privileges and
immunities secured to him by the eighth and fourteenth amendments to the United States
Constitution, _ t

29. That Defendants, County of Monroe and the Sheriff of the County of Monroe
encouraged and/or approved of a policy of authorizing and permitting Deputy Sheriff Geiger,
'_ who was acting within the scope of his authority as a deputy sheriff to disregard and violate the
_ Plaintiff’s said rights and privileges and further permitting him to do so out of personal j
animosity with malice against the Plaintiff all _of which was»under the color of state law and in
violation of Plaintiff’ s rights as set forth above. 7 j

30. That as a result of the Defendants’ violation of Plaintist rights as set forth above,
Plaintiff has been damaged in the manner more hilly set forth herein above,

31. That Plaintiff is entitled to recover for the above damages pursuant to Title 42 U.S.
Code §§1983 et. seq. z n _

WHEREFORE, Plaintiff respectfully demands judgment against the Defendants and
each of them in a suitable amount for Plaintiff s actual damages on each cause of action
contained herein, together with an award for Plaintiff’s reasonable attomey’s fees pursuant to
Title 42 U.S.Code §1988 on Plaintiff s fifth cause of action, said amounts sought exceed thel
jurisdiction of all lower courts; v

Plaintiff also seeks an award of Punitive Damages against Defendant, Deputy Sheriff
'Geiger; ' -

All together with the costs and disbursements of this action, plus such other and further

_5.

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relief as to the Court may seem just and proper.

Dated: December 19, 2012 y 7
Yours etc,

TED A. BARRACO, ESQ.
Attorney for Plaintiff

OJj‘ice and Post Ojj'ice Address:

1'9 West Main Street, Suite 721

Rochester, New York 14614 '

` ' Tel.: (585) 546-5980

»"»

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Exhibit C

Exhibit C Exhibit C . Exhibit C

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STATE OF NEW YORK
SUPF\_'EME COURT COUNTY OF MONROE

COLL|N TRELLY,

 
  
  
 
    
 

 

Plaintiff,
v.

COUNTY OF MONROE; the SHERIFF of the
COUNTY OF MONROE; and MONROE COUNTY
DEPUTY SHER|FF GE|GER,

ANSWER .
lndex No. 12-13760

Defendants,

Defendants County of Monroe, the Sheriff of the County of Monroe and l\/lonroe
County Deputy Sheriff Geiger by their attorney l\/lerideth H. Smith, l\/lon_roe County Attorney,
Michele Romance_ Crain, Esq. of counse|,. hereby answer plaintiffs Comp|aint as follows:

1. Admit the allegations contained in paragraphs 2, 5 and 8.

2. Deny the allegations contained in paragraphs 3, 4, 7, 9, 10, 12, 13, 14, 15, 17,
18, 19, 21, 22, 23, 14, 27, 28, 29, 30 and 31.

3. Lack knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 1.

4. Paragraphs 6, 11, 16, 20 and 25 of the complaint contain no allegations to
which a response is required since they incorporate by reference prior allegations
Defendants answer said paragraphs in the same manner and to the same effect that they
answered the allegations to which said paragraphs refer.

5. Deny each and every allegation contained in the complaint not heretofore

admitted, denied or otherwise controverted

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6. With respect to paragraph 26, deny the allegation that Deputy Geiger was in
the course of his employment for the Defendant County of Monroe but admit the remaining
allegations of said paragraph

AS AND FOR A FlRST AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

7. That the Comp|aint fails to state a cause of action upon which relief may be

granted against the defendants

AS AND FOR A SECOND AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

8. That the Comp|aint represents an effort to state a cause of action cognizable

under 42 u.s.c. §§1983 and 1985.

AS AND _FOR A TH|RD AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

9. That the cause of action alleged by plaintiff may not be maintained for the
reason that plaintiff failed to properly commence the action within the appropriate statute of

' limitations period.

AS AND FOR A FOURTH AFF|RMATIVE
DEFENSE, DEFENDANTS STATE:

10. The individual defendant, Deputy Geiger, is entitled to qualified immunity from

suit because:

A. No clearly established constitutional right was violated.

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B. The defendant's actions were objectively reasonable under the

circumstances

AS AND FCR A FIFTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

11. The individual defendant, Deputy Geiger, is entitled to immunity from
continuation of this action upon the grounds that he acted in the good faith belief that his
actions constituted a reasonable exercise of his duties and did not breach or infringe upon
the plaintiff's constitutional rights known by a reasonable person to exist at the time of the

j subject incident

AS AND FOR A SlXT_H AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

12. That the official actions of the County of Monroe and the Sheriff of the County
of Monroe, their employees, agents or representatives jointly and severally, constituted good
faith exercise of discretion and judgment, for which the County of Monroe and the Sheriff of
the County of Monroe and their employees agents or representativesare immune from

common-law liability.

AS AND FOR A SEVENTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

13. That the defendants did not act maliciously, wantonly or in a manner which
manifested a gross deviation from the standard of conduct which a reasonable person wouldn
follow and, therefore, the Comp|aint has failed to allege facts upon which an award of

punitive damages could be granted as a matter of law.

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AS AND FOR AN E|GHTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

14. To the extent that Deputy Geiger is sued in his official capacity, plaintiff is
not entitled to an award of punitive damages Further, punitive damages cannot be

awarded against the County.

AS AND FOR A N_lNTH‘AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

1'5. That in the event the Comp|aint is interpreted to state a cause of action based
upon a theory of negligent hiring, education, training and/or supervision, the Comp|aint fails

to allege sufficient facts to support such allegations and should be dismissed.

As AND F.oR A TENTH AFFlFrMA'rlvE
DEFENSE, DEFENDANTS sTATE:

16. That the County of l\/lonroe and the Sheriff of the County of l\/lonroe did not
authorize, condone, permit or ratify any allegedly improper or malicious conduct on the part

of any person or adopt any policy condoning such conduct.

AS AND FOR AN ELEVENTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

17. The force allegedly used did not rise to the_level of a constitutional violation'.

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AS AND FOR A TWELVETH AFF|RMAT|VE
DEFENSE; DEFENDANTS STATE:

18, That the force, if any, used on the'p|aintiff was reasonable and necessary
under the circumstances and any injury or damages allegedly suffered by plaintiff were due

to an caused by reason of plaintiffs improper acts and conduct

AS AND FOR A'TH|RTEENTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

19. The doctrine of respondeat superior is unavailable under New York State

Law as a basis for imposing liability upon the County for the alleged tortious conduct of
Deputy Geiger.~ 4 l

20. A county is not liable for the acts of the sheriff'or his deputies unless it has
assumed such liability by local law.
7 21. r_ The County has not assumed responsibility for the acts of Monroe County
Sheriff Patrick l\/l. O’Flynn or his deputies, by local law. See, Code of Monroe County New
York, Chapter 39. l j

AS AND FOR A FOURTEENTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

22. The doctrine of respondeat superior is unavailable under New York State
Law as a basis for imposing liability on Sheriff O’Flynn for the_al|eged acts of Deputy
Geiger who was engaged in a criminal justice function at the time of the incident alleged 7

in Comp|aint.

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AS AND FOR A FlFTEENTH AFF|RMAT|VE
DEFENSE, DEFENDANTS STATE:

23. . This Court does not have jurisdiction over the person of Deputy Geiger.

WHEREFORE, defendants demand judgment

A. Dismissing plaintiffs complaint, together with the costs and disbursements

of this action;

B. Additionally and/or in the alternative, demand that any judgment recovered

by the plaintiff be diminished in the proportion in which the culpable conduct of the plaintiff

bears to the culpable conduct which caused the plaintiff‘s damages;

C. For such other and further relief to which the _Court may seem just and

d proper.

DATE_D: May 8, 2013

TO: Ted A. Baraco, Esq.
Attorney for Plaintiff '
19 West l\/lain Street, Suite 721
Flochester, New York 14614
Te|ephone: 585.546.5980

MER|DETH H. SM|TH, ESQ.

MONROE COUNTY ATTORNEY
Attorne r ounty Defendants
Caar/P\

 

Nli'cheisBo/mance Crain,` Esq. of Counsel
Senior Deputy County Attorney

307 County Office Bui|ding

39 West Main Street, Rochester, NY 14614
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